      Case 1:25-cv-00400-AHA      Document 27     Filed 02/20/25   Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    ) Civil Action No. 25-cv-400 (AA)
                  Plaintiffs,       )
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )

                                     ERRATA

The motion filed on February 19, 2025 (ECF 26) is corrected as follows:

      On page 3, “Peter Marocco” is deleted.

      On page 15, “Peter Marocco” is deleted.

      On page 16, “Peter Marocco” is replaced with “Russell Vought.”

Dated: February 20, 2025              Respectfully submitted,

                                      /s/ Lauren Bateman
                                      Lauren E. Bateman (D.C. Bar No. 1047285)
                                      Allison M. Zieve (D.C. Bar No. 424786)
                                      Nicolas A. Sansone (D.C. Bar No. 1686810)
                                      Public Citizen Litigation Group
                                      1600 20th Street NW
                                      Washington, DC 20009
                                      (202) 588-1000

                                      Counsel for Plaintiffs
